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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 2:19-cv-14199-MIDDLEBROOKS

  CENTER FOR BIOLOGICAL DIVERSITY;
  CALUSA WATERKEEPER; and
  WATERKEEPER ALLIANCE,

         Plaintiffs,

  v.

  U.S. ARMY CORPS OF ENGINEERS; COL.
  ANDREW KELLY, in his official capacity as
  Commander and District Engineer of the U.S.
  Army Corps of Engineers; U.S. DEPARTMENT
  OF THE INTERIOR; DAVID BERNHARDT, in
  his official capacity as Secretary of the U.S.
  Department of Interior; NATIONAL MARINE
  FISHERIES SERVICE; DR. ROY E.
  CRABTREE, in his official capacity as Regional
  Administrator of the Southeast Regional Office of
  National Marine Fisheries Service; U.S. FISH
  AND WILDLIFE SERVICE; and AURELIA
  SKIPWITH, in her official capacity as Director of
  U.S. Fish and Wildlife Service,

        Defendants.
  ________________________________________/


                       ORDER APPROVING STIPULATION OF DISMISSAL

         THIS CAUSE comes before the Court upon the Parties’ Stipulated Motion to Dismiss,

  filed on October 23, 2020. (DE 90). Therein, the Parties stipulate to the dismissal of Plaintiffs’

  pending National Environmental Policy Act (NEPA) claim (i.e., the First Claim for Relief as set

  forth in Plaintiffs’ Complaint, DE 1 at 38–39 ¶¶ 237–242). Accordingly, having read and

  considered the Parties’ Joint Stipulation, it is hereby

         ORDERED and ADJUDGED that



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         (1) Plaintiffs’ pending National Environmental Policy Act (NEPA) claim (i.e., the First

            Claim for Relief as set forth in Plaintiffs’ Complaint, DE 1 at 38–39 ¶¶ 237–242) is

            DISMISSED WITH PREJUDICE AS MOOT, with all Parties to bear their own

            costs and fees as to the NEPA claim.

         (2) This dismissal is without prejudice to any challenge that Plaintiffs may make to the

            adequacy of the Lake Okeechobee Regulation Schedule Deviation NEPA documents.



         SIGNED in Chambers in West Palm Beach, Florida, this 26th day of October 2020.




                                                              Donald M. Middlebrooks
                                                              United States District Judge



  cc: All Counsel of Record




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